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                    UNITED STATES DISTRICT COURT
                    EASTERN DISTRICT OF MICHIGAN
                         SOUTHERN DIVISION


UNITED STATES OF AMERICA,

                  Plaintiff,
                                          Case No. 14-CR-20273
v.                                        HON. GEORGE CARAM STEEH

D-1 JOHN TROTTER, II, M.D.,
D-3 ELAINE LOVETT

              Defendants.
_____________________________/

      OPINION AND ORDER REGARDING THE GOVERNMENT’S
     NOTICES OF INTENT TO OFFER 404(b) EVIDENCE (DOC. 136)

      Defendants John Trotter, II, M.D., and Elaine Lovett are charged with

health care fraud conspiracy and three counts of health care fraud. This

matter is before the Court on the Government’s notice of intent to offer Rule

404(b) evidence at trial against Trotter and Lovett. (Doc. 136). Defendants

responded to this notice, to which the Government replied. The Court

dispensed with oral argument in accordance with E.D. Mich. L.R. 7.1(f)(2).

For the reasons stated below, the Court will permit this evidence.

                               I. Background

      Count One of the superseding indictment charges Lovett and Trotter

with conspiring with each other, Michelle Freeman, and Andrew Hardy, Jr.,

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M.D., to knowingly and willfully execute a scheme to defraud Medicare and

to obtain money by making materially false and fraudulent representations

on claim forms submitted. The conspiracy is alleged to have occurred from

May 2008 to May 2014. The indictment specifies that the defendants

conspired to unlawfully enrich themselves by submitting false claims to

Medicare for physician visits that were not medically necessary, not

provided, and/or not eligible for reimbursement; concealing the submission

of false and fraudulent claims; and diverting proceeds of this fraud for their

personal use and benefit. (Doc. 90 at ¶ 38).

      To achieve this end, the defendants and Freeman allegedly used

and/or purchased existing Medicare providers numbers, submitted false

claims using provider numbers without the permission of those providers,

submitted false statements for services not provided as billed, submitted

claims for services provided by an unlicensed doctor, and submitted false

enrollment materials that did not disclose Trotter’s ownership interest.

      Counts Two, Three, and Four allege that Trotter and Lovett executed

a scheme to defraud Medicare by submitting false claims for services that

were not rendered and were not medically necessary.

       The government alleges the following facts regarding the proposed

other act evidence. In approximately late 2012 or early 2013, Trotter and

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ABIX Solutions, Inc. (ABIX), Lovett’s billing company, arranged to bill

Medicare under Dr. George Evans’ Medicare Provider Identification

Number (PIN). Despite this billing, Evans never treated any of Trotter’s

patients and never managed or supervised any other purported

practitioners. Evans retained approximately five to ten percent of the

reimbursements. Lovett, through ABIX, also retained a percentage of the

reimbursements in return for billing the claims and apportioning the funds

between Trotter and Evans.

                             II. Legal Standard

      Evidence is relevant “if it has any tendency to make a fact more or

less probable than it would be without the evidence; and the fact is of

consequence in determining the action.” Fed. R. Evid. 401. Even if

evidence is relevant, it may be inadmissible under another Federal Rule of

Evidence. Fed. R. Evid. 402.

      “Evidence of a crime, wrong, or other act” is prohibited at trial when

used “to prove a person’s character in order to show that on a particular

occasion the person acted in accordance with the character.” Fed. R. Evid.

404(b)(1). But, such “evidence may be admissible for another purpose,

such as proving motive, opportunity, intent, preparation, plan, knowledge,

identity, absence of mistake, or lack of accident.” Fed. R. Evid. 404(b)(2).

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      The Court “must apply a three-step analysis to evaluate the

admissibility of evidence under Rule 404(b).” United States v. Hardy, 228

F.3d 745, 750 (6th Cir. 2000). First, the party seeking to admit 404(b)

evidence must demonstrate that the other bad acts occurred. Id. (citing

United States v. Johnson, 27 F.3d 1186, 1190 (6th Cir. 1994)). Second,

the offering party must cite a specific purpose for which the evidence is

offered. Id. “[T]he government’s purpose in introducing the evidence must

be to prove a fact that the defendant has placed, or conceivably will place,

in issue, or a fact that the statutory elements obligate the government to

prove.” United States v. Bell, 516 F.3d 432, 442 (6th Cir. 2008).

Essentially, the offering party “must show the evidence is probative of a

material issue other than character.” Hardy, 228 F.3d at 750. Finally, the

Court must find that the evidence’s probative value is not substantially

outweighed by the risk of unfair prejudice. Id.; see also Fed. R. Evid. 403.

                                III. Analysis

       It is not clear whether defense counsel intends to raise a Fed. R.

Evid. 402 objection in addition to their objection under Fed. R. Evid. 404(b).

Nevertheless, the Court, will address admissibility under both rules.

      Defense counsel argues that the proposed other act evidence is “not

relevant to the charges set forth in the Superseding Indictment.” (Doc. 140

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at PageID 1833). This argument fails. Whether defendants conspired to

commit and did in fact commit health care fraud is a fact of consequence.

Evidence that Trotter arranged to improperly bill his claims under Evan’s

PIN, and that Lovett facilitated and benefitted from this arrangement, has a

tendency to make this fact more probable. Defense counsel themselves

highlight the relevance of this evidence, stating that the issue with other act

evidence “is not that it is irrelevant, but, to the contrary, that using bad acts

evidence can ‘weigh too much with the jury.’” (Doc. 140 at PageID 1835)

(quoting Michelson v. United States, 335 U.S. 469, 476 (1948)). Therefore,

to the extent that defendants raised a Fed. R. Evid. 402 objection, it is

overruled.

      The Court evaluates defendants’ Fed. R. Evid. 404(b) objection using

the three-step analysis outlined in United States v. Johnson, 27 F.3d 1186,

1193 (6th Cir. 1994). Defendants do not dispute the Government’s

assertion that Evans’ testimony will demonstrate that the other acts actually

occurred. Instead, defendants argue that the Government errs by failing to

identify the proposed evidence’s purpose with any specificity. Defendants

ignore the Notice’s assertion that this evidence is admissible to prove intent

and absence of mistake. (Doc. 136 at PageID 1814).




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      Other act evidence is admissible as evidence of intent if specific

intent is an element of the offense. United States v. Merriweather, 78 F.3d

1070, 1078 (6th Cir. 1998). Count I, health care fraud conspiracy, is a

specific intent crime requiring defendants to have acted knowingly and

willfully. (Doc. 90 at PageID 546). “To determine if evidence of other acts

is probative of intent, we look to whether the evidence relates to conduct

that is ‘substantially similar and reasonably near in time’ to the specific

intent offense at issue.” United States v. Hardy, 643 F.3d 143, 151 (6th Cir.

2011) (quotations and citations omitted). “[T]he prior acts need not

duplicate exactly the instant charge, but need only be sufficiently analogous

to support an inference of criminal intent.” United States v. Benton, 852

F.2d 1456, 1468 (6th Cir. 1988) (citing United States v. Burkett, 821 F.2d

1306, 1309 (8th Cir. 1987)).

      The proposed other act evidence is substantially similar and

reasonably near in time to the conspiracy charge. The superseding

indictment alleges that, between May 2008 and May 2014, defendants

billed Medicare for unnecessary and unrendered services. The proposed

other act evidence involves Trotter and Lovett billing Medicare for services

that Evans did not provide throughout late 2012 and early 2013.




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      Other act evidence may be introduced where, “by virtue of the

defense raised by the defendant[s],” the Government has an affirmative

duty to prove specific intent. Johnson, 27 F.3d at 1192. The Government,

therefore, also offers Evans’ testimony as evidence of absence of mistake

to rebut defendants’ possible defense that the contested claims were

inadvertently billed under another provider’s identification number.

Testimony that Trotter paid Evans in return for billing false claims under his

PIN, and that Lovett billed under Evans’ PIN while knowing the falsity of the

claims, demonstrates an absence of mistake and illustrates specific intent.

      The probative value of Evans’ testimony outweighs any potential

unfair prejudice. Whether defendants “defrauded Medicare innocently or

intentionally [is] a central issue” of this case. United States v. English, 785

F.3d 1052, 1056 (6th Cir. 2015). Evidence that sheds light on defendants’

true intentions is highly probative. Id. Contrary to defendants’ claims, the

proposed evidence is not used merely to demonstrate a propensity to

defraud Medicare. The Government has specifically articulated two

permissible purposes. Finally, potential prejudice may be mitigated by

giving the jury a detailed limiting instruction. Id.; see also Hardy, 643 F.3d

at 153.




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                                   IV. Conclusion

      For the reasons stated above, the Court will permit Evans’ testimony

as permissible other act evidence under Fed. R. Evid. 404(b).

      IT IS SO ORDERED.

Dated: March 30, 2017


                                          s/George Caram Steeh
                                          GEORGE CARAM STEEH
                                          UNITED STATES DISTRICT JUDGE


                               CERTIFICATE OF SERVICE

                Copies of this Order were served upon attorneys of record on
                    March 30, 2017, by electronic and/or ordinary mail.

                                   s/Marcia Beauchemin
                                       Deputy Clerk




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